      Case 2:20-cv-01576-JAD-DJA Document 5 Filed 11/02/20 Page 1 of 2




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 3                                 UNITED STATES DISTRICT COURT
 4                                         DISTRICT OF NEVADA
 5                                                     ***
 6    MARKQWON ALLEN,                                         Case No. 2:20-cv-01576-JAD-DJA
 7                            Plaintiff,
                                                              ORDER
 8          v.
 9    AUSTIN BONE, et al.,
10                            Defendants.
11

12           Presently before the Court is Plaintiff Markqwon Allen’s Second Motion/Application to

13   Proceed in forma pauperis (ECF No. 4), filed on September 29, 2020. The Court will again deny

14   it as it is incomplete. Under 28 U.S.C. § 1915(a)(2) and Local Rule LSR 1-2, an incarcerated

15   plaintiff seeking to proceed without paying the filing fee must complete an application to proceed

16   IFP and attach (1) an inmate account statement for the past six months, and (2) a financial

17   certificate from the institution where he is incarcerated certifying the amount of funds in

18   plaintiff’s inmate trust account at the institution. If the plaintiff has been incarcerated at the

19   institution for fewer than six months, the certificate must show the account’s activity for the

20   shortened period. LSR 1-2.

21           Here, Plaintiff’s IFP application is incomplete because he again did not submit an inmate

22   account statement for the past six months and he also fails to attach a proposed complaint for the

23   Court to screen. The Court therefore will deny Plaintiff’s IFP application without prejudice. The

24   Court will provide Plaintiff with one more opportunity to properly complete his IFP application

25   or pay the full filing fee for this action. If Plaintiff chooses to file a another IFP application, then

26   he must file a complete application including all the documents referenced in this Order along

27   with his entire proposed complaint.

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      Case 2:20-cv-01576-JAD-DJA Document 5 Filed 11/02/20 Page 2 of 2




 1             IT IS THEREFORE ORDERED that Plaintiff’s Second Motion/Application to Proceed In

 2   Forma Pauperis (ECF No. 4) is denied without prejudice.

 3             IT IS FURTHER ORDERED that the Clerk of Court must send Plaintiff a blank

 4   application to proceed in forma pauperis by an inmate as well as the accompanying instruction

 5   packet.

 6             IT IS FURTHER ORDERED that by December 2, 2020, plaintiff must either: (1) file a

 7   complete application to proceed in forma pauperis, on the correct form with complete financial

 8   attachments, or (2) pay the full $400 fee for filing a civil action, which includes the $350 filing

 9   fee and the $50 administrative fee.

10             IT IS FURTHER ORDERED that failure to timely comply with this order may result in a

11   recommendation that this case be dismissed.

12             DATED: November 2, 2020.

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14
                                                           DANIEL J. ALBREGTS
15                                                         UNITED STATES MAGISTRATE JUDGE
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